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              IN THE UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 IN RE:                                              Chapter 11
 SHARPE CONTRACTORS, LLC,                            Case No. 20-72638
    Debtor.
 ___________________________________/

   SELECTIVE INSURANCE COMPANY OF AMERICA[B MOTION TO
    LIFT STAY, ALTERNATIVELY, FOR ADEQUATE PROTECTION

       Selective    Insurance    Company     of   America   (uSelectivev)+     l`jgm_`

 undersigned counsel, pursuant to 11 U.S.C. § 362(d) and 11 U.S.C. § 105, moves

 this Honorable Court for an Order modifying the automatic stay in the captioned

 bankruptcy to permit Selective to: (1) collect Bonded Contract Funds from the

 Owner on the Bonded Brunswick Contract (all defined below); and (2) to utilize

 said Bonded Contract Funds to pay and/or reimburse Selective for claims it paid

 under the bonds it issued on behalf of the Debtor on the Brunswick Project.

       Alternatively, Selective seeks adequate protection of the Bonded Contract

 Funds in the form of an order requiring that the Bonded Contract Funds, as

 collected, be deposited into a separate trust account that requires the signature of

 the Debtor and Selective before funds can be disbursed, and an Order that the

 Bonded Contract Funds can be used only for direct Bonded Project subcontractor

 and supplier claims under the payment bond, and/or to reimburse Selective for

 claims that it has paid under the Bonds and not for other purposes, such as payment
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 of officer salaries, home office overhead or other projects. In support of this

 motion, Selective states:

                                  BACKGROUND

       1.     This Court has subject matter jurisdiction over this matter pursuant to

 28 U.S.C. Sections 157 and 1334 and by virtue of the reference by the district court

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 U.S.C. Section 157(b)(2).

       2.     On December 14, 2020, the Debtor filed a Voluntary Petition for

 Relief under Chapter 11 of the United States Bankruptcy Code.

       3.     At all material times, the Debtor was engaged in commercial

 construction.

       4.     At the time that the Debtor sought protection, Debtor was a party to,

 among others, a completed contract that Selective bonded for project known as the

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 may have continuing maintenance, warranty and/or latent defect exposure. The

 contract between Debtor and the owner for the Brunswick Project is sometimes

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       5.     The Debtor was required to provide a payment bond and a

 performance bond in connection with the Bonded Contract, as security for the

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 @]Zlgjxk h]j^grmance under the Bonded Contract and payment of laborers and

 materialmen providing labor and materials incorporated into the work under the

 Bonded Contract, and sought said bonds from Selective, a surety in the business of

 providing payment and performance bonds to selected entities.

       6.    Before it would issue said payment and performance bonds, Selective

 required certain protections from the Debtor of monies to be paid to the Debtor

 under the Bonded Contract and from loss to Selective in the event that the Debtor

 failed to perform all of its obligations under the Bonded Contract or to pay labor

 and material suppliers on the Bonded Contract.

       7.    In order to induce Selective to issue the bonds, the Debtor (and others)

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 Selective, a copy of which is attached as 4XMNHNV Y0&Z

       8.    In reliance on the Indemnity Agreement, Selective issued a

 performance bond and a payment bond (l`] uL]j^gjeYf[] >gf\v Yf\ l`]

 uLYqe]fl >gf\v also sometimes collectively referred lg Yk l`] u>gf\kv) in

 connection with the Brunswick Project naming The Dixon Management Group,

 Inc. Yk KZda_]] (l`] uKof]jv) Yf\ l`] @]Zlgj Yk hjaf[ahYd+ on behalf of and at the

 request of the Debtor.




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       9.    The contract funds on the Bonded Contract (l`] uBonded Contract

 Fundsv) Yj] ljmkl ^mf\k ^gj hYqe]fl g^ l`] [gklk g^ [gehd]laf_ l`] ogjc mf\]j l`]

 Bonded Contract, payment of those supplying labor and materials used in the

 prosecution of work under the Bonded Contract, and repayment to Selective for

 amounts it paid to resolve claims on the Bonds, and Selective has a first priority

 right to the Bonded Contract Funds under the Indemnity Agreement and principles

 of equitable subrogation. See Federal Ins. Co. v. Community State Bank, 905 F.2d

 112 (5th Cir. 1990); United States Fidelity & Guaranty Co. v. Housing Authority of

 the Town of Berwick, 557 F.2d 482 (5th Cir. 1977); see also Transamerica Ins. Co.

 v. Barnett Bank of Marion County, N.A., 540 So. 2d 113 (Fla. 1989). The Bonded

 Contract Funds serve to reduce the loss to Selective in the event of the failure of

 the Debtor to perform under the Bonded Contract.

       10.   The Indemnity Agreement provides, in pertinent part:

       1. . . . Application t This Agreement applies to any Bond executed
       prior to, contemporaneously with, or after the execution of this
       Agreement.
                                        ***
       10. Trust Funds: If any of the Bonds or other instruments are
       executed by Surety in connection with the performance of a contract,
       the entire contract price or other consideration to be received by an
       Indemnitor, whether received as payments or loans, shall be dedicated
       to the satisfaction of the condition of the Bond(s) or other
       instrument(s). All consideration, including all funds paid, due or

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       become due and all securities, warrants, checks or other evidence of
       indebtedness and the process thereof, given upon or under any
       contract in connection with which Surety shall have issued a Bond
       (uOjmkl Bmf\kv) k`Ydd Z] aehj]kk]\ oal` Y ljmkl af ^Yngj g^ Yf\ ^gj l`]
       benefit of laborers, materialmen, suppliers, subcontractors and Surety
       for the exclusive purpose of satisfying the conditions of the Bonds. In
       the event of a default by any Indemnitor in the performance of
       compliance with any promise, covenant or obligation under this
       agreement, the Surety may demand and the Indemnitors shall cause all
       funds or the proceeds of all consideration received or to be received
       from any contract referred to in any Bond to be deposited into
       separate trust accounts with a bank or similar depository designated
       by Surety and such accounts shall be controlled by an escrow agent to
       be designated by Surety. If any of the Bonds or other instruments are
       executed by Surety to assure that funds collected by an Indemnitor, or
       any taxable or chargeable portion thereof, are paid to a third party
       obligee, all such funds received by such Indemnitor shall be
       impressed with a trust in favor of and for the benefit of such obligee
       and Surety for the exclusive purpose of satisfying the conditions of
       the Bonds and each Indemnitor who exercises control or has the
       ability to exercise control over the collection and application of such
       trust funds shall have a fiduciary duty owing to the Surety to segregate
       such trust funds and cause such trust funds o be paid to the obligee, In
       the event of a default by any Indemnitor in the performance or
       compliance with any promise, covenant or obligation under this
       agreement, the Surety may demand and the Indemnitors shall cause all
       such trust funds to be deposited into separate trust accounts with a
       bank or similar depository designated by Surety and such accounts
       shall be controlled by an escrow agent to be designated by Surety.

                                        ***



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       5.     Assignments: The Indemnitors do hereby assign, transfer,
       pledge and convey to Surety as collateral security to secure the
       obligations of the Indemnitors hereunder, under the Bonds and with
       respect to any other liability or indebtedness of the Indemnitors to
       Surety whether heretofore or hereinafter incurred: (A) All moneys due
       or to become due to the Indemnitors and all rights and title and
       interest of the Indemnitors in, or growing in any manner out of, or in
       any way related to, any contract in which the Indemnitors or any of
       them may have an interest, whether or not bonded by Surety, now
       existing or hereafter acquired and any extension, modifications,
       changes, alterations or additions thereto, including but not limited to
       any and all sums due or that may become due under any contract,
       compensation for extra work and claims and the proceeds of any
       insurance policies payable to any of the Indemnitors; (B) All
       subcontracts and purchase orders let or to be let by an of the
       Indemnitors and all rights, actions, causes of action, claims and
       demands of whatsoever kind which any of the Indemnitors may now
       have or hereafter acquired with respect to any contract or subcontract
       or purchase order or any bonds given to any Indemnitor by any
       subcontractor or vendor in connection with any contract; (C) All right,
       title and interest of the Indemnitors in and to any contract, any sums
       due under any contract and any and all rights under the contract, the
       work and all supplies, tools, plant, machinery, equipment and
       materials of whatsoever kind that may then or thereafter be upon the
       work, or in, on or about the site thereof, and all materials purchased
       for or chargeable to any contract which may be in the process of
       manufacture or construction, or in transportation or in storage
       elsewhere in connection with any contract whether or not bonded by
       Surety and the proceeds of any insurance policies issued with respect
       thereto.




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         11.   The Debtor failed to pay certain subcontractors and suppliers on the

 Brunswick Project, Yf\ emdlahd] [dYaek o]j] eY\] Y_Yafkl N]d][lan]xk LYqe]fl

 Bond.

         12.   Specifically, Carolinas Construction Solutions, LLC, a subcontractor

 to the Debtor on the Brunswick Project, filed suit in the matter entitled Carolinas

 Construction Solutions, LLC, v. Selective Insurance Company of America, and

 Sharpe Contractors, LLC, Case No. CE20-00484 in the Superior Court for Glynn

 County, Georgia, alleging that Debtor failed to pay the principal sum of

 $161,732.86 for labor it provided on the Brunswick Project. A copy of the

 Complaint is attached as 4XMNHNV Y1&Z

         13.   Further, Selective has received numerous other payment bond claims

 alleging that the Debtor has failed to pay subcontractors and suppliers on Bonded

 Contract for labor and materials incorporated into the Brunswick Project. Selective

 has paid at least $930,786.39 of the Payment Bond claims that it has received on

 the Brunswick Project (as shown in the table below) for which it has recovered

 only $95,790.52. Therefore, Selective has not been reimbursed for at least

 $834,995.87 of the amount it paid to subcontractors and suppliers on Bonded

 Contract for labor and materials incorporated into the Brunswick Project.




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                     Claimant                               Amount
      Certified Electric, Inc.                             $56,086.39
      Commercial Cabinetry                                 $46,847.53
      D&D Decorators                                       $ 95,790.52
      Dirt Works, Ent. Inc.                                $ 15,900.00
      Douglasville Winelectric Co.                         $198,335.50
      FabCon, Inc.                                          $7,650.00
      GFY Service, LLC                                      $9,000.00
      JW Oliver Construction                               $33,923.70
      Junior's Cleaning Service                            $20,000.00
      KB Flooring Design                                   $24,580.80
      Latin Electric Workforce                             $150,000.00
      Mgroup                                               $27,000.00
      Majestic Eagle                                       $151,989.50
      New Coat Painting, Inc.                              $25,000.00
      RNB Construction                                      $5,400.00
      Renovo Services, Inc. dba                            $14,626.19
      Southeastern Steamers                                 $4,166.75
      Sundance Tile and Stone                               $4,222.40
      Troyer's Specialty Fencing                           $23,356.23
      Windover Water, Inc. dba                             $16,910.88
      Total                                                $930,786.39

       14.    One or more of the events set forth in Paragraph 5 of the Indemnity

 Agreement has occurred, including, without limitation: (a) An abandonment,

 forfeiture, or breach of, or failure, refusal or inability to perform, the terms and

 provisions of any contract with respect to which a Bond or other instrument has

 been executed by Surety or demand by an obligee against a Bond alleging a default

 of a bonded obligation; (b) the failure, delay, refusal, or inability of an Indemnitor

 to pay bills or other indebtedness incurred in, or in connection with, the


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 performance of any contract with respect to which a Bond or other instrument has

 been executed by Surety; (c) the failure, refusal or inability of an Indemnitor to

 satisfy any of the conditions of any such Bond or other instrument executed by

 Surety; (d) the failure of an Indemnitor to perform, or comply with any of the

 promises, covenants and obligations of the Indemnity Agreement; (e) an

 assignment by an Indemnitor for the benefit of creditors, any appointment or

 application for the appointment of a receiver or trustee, or any voluntary or

 involuntary filing of a petition under Title 11 of the United States Code as to any

 Indemnitor whether insolvent or not.

                ARGUMENT AND CITATION OF AUTHORITY

       15.    The Bonded Contract Funds are not property of the estate within the

 meaning of 11 U.S.C. § 541 as the Debtor has failed to pay subcontractors and/or

 suppliers for work performed on the Bonded Contract, and owes significant billed

 but unpaid amounts to other subcontractors and/or suppliers on Bonded Contract.

 Therefore, the Debtor did not earn the Bonded Contract Funds, which represent

 work performed by subcontractors and/or suppliers.

       16.    The Bonded Contract Funds are not property of the estate within the

 meaning of 11 U.S.C. § 541 to the extent that the Debtor has failed to complete the

 project or failed to pay its subcontractors and suppliers, and to the extent Selective

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 `Yk hYa\ @]Zlgjxk kmZ[gfljY[lgjk Yf\ kmhhda]jk mf\]j l`] l]jek g^ l`] >gf\k. To

 the extent that the Debtor has failed to pay subcontractors and suppliers, it has not

 earned the Bonded Contract Funds, which represents work performed by these

 subcontractors and suppliers. See Pearlman v. Reliance Ins. Co., 371 U.S. 132,

 135-25+ 72 N-?l- 121+ 126 (0851) (j][g_faraf_ kmj]lqxk hjagjalq ja_`l lg contract

 funds); 8M>QAGAMN 0I@AH& *J& Q& <& .>& 4>OTG )>IF, 387 F. Supp. 1090, 1093 (N.D.

 Ga. 1974); In re Merts Equip. Co., 438 F. Supp. 295, 297 (M.D. Ga. 1977); In re

 Phillips Materials Co., Bankruptcy Case No. A87-04857-ADK Chapter 11,

 Adversary Case No. 88-0533A, 1989 Bankr. LEXIS 1356, at *6-7 (Bankr. N.D.

 Ga. July 31, 1989); In re Modular Structures, Inc., 27 F.3d 72, 77 (3rd Cir. 1994);

 Trinity Universal Ins. Co. v. United States, 382 F.2d 317, 320 (5th Cir. 1967), cert.

 denied, 390 U.S. 906, 88 S.Ct. 820 (1968); In re E.R. Fegert, Inc., 88 B.R. 258,

 260 (B.A.P. 9th Cir. 1988); Capitol Indemnity Corp. v. Heidkamp, 312 B.R. 437

 (M.D. Fla. 2003); In re Colt Engineering, Inc., 288 B.R. 861 (Bankr. C.D. Ca.

 2003); In re Pacific Marine Dredging & Construction, 79 B.R. 924, 929 (Bankr.

 D.Or. 1987). The Debtor has failed to earn the Bonded Contract Funds, and they

 are not property of the estate. In Travelers Indemnity, the Court noted:

              [U]pon default, the surety which is obligated to complete
              the work steps into the shoes of the [obligee on the bond]
              . . . It is subrogated not only to the right of the [obligee] to

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              pay laborers and materialmen from funds retained out of
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              apply to the cost of completion the earned but unpaid
              progress payments in its hands at the time of default.

 387 F. Supp. at 1093. Likewise, in E.R. Fegert, Inc., the Court stated:

              [A] surety has the common-law right of subrogation to
              contract balances upon completing of the job and payment
              of the subcontractors and materialmen, which is superior to
              the interest of the bankruptcy estate. 371 U.S. at 136, 140-
              41. This ruling was in line with the well-established
              equitable doctrine of subrogation, which was designed to
              promote substantial justice by protecting the surety.

 88 B.R. at 260.

       17.    The Northern District of Georgia has applied Pearlman and upheld the

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 *J& Q& <& .>& 4>OTG )>IF, 387 F. Supp. 1090, 1093 (N.D. Ga. 1974); see also In re

 Phillips Materials Co., Bankruptcy Case No. A87-04857-ADK Chapter 11,

 Adversary Case No. 88-0533A, 1989 Bankr. LEXIS 1356, at *6-7 (Bankr. N.D. Ga.

 July 31, 1989); In re Merts Equip. Co., 438 F. Supp. 295, 297 (M.D. Ga. 1977);

 Capitol Indemnity, supra, 312 B.R. at 442; In re Cone Constructors, Inc., 265 B.R.

 302, 308-309 (Bkrtcy. M.D. Fla. 2001); In re Caddie Construction Co., 125 B.R.

 674, 678 (Bkrtcy. M.D. Fla. 1991). Thus, the Debtor should not be permitted to use


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 contract funds for any purpose other than to pay amounts owed to subcontractors and

 suppliers and direct Bonded Contract costs.

           18.   Selective further has a priority interest in the Bonded Contract Funds

 as the subrogee of the obligee on and claimants under the Bonds. Travelers Indem.

 *J& Q& <& .>& 4>OTG )>IF+ 276 B- Nmhh- 0/8/+ 0/82 (J-@- CY- 0863) (uY kmj]lq wak

 not only a subrogee of the contractor, . . . but also a subrogee of the [owner] and

 ]flald]\ lg Yfq ja_`lk l`] Vgof]jW `Yk lg l`] j]lYaf]\ ^mf\k-xv); see also In re Merts

 Equip. Co.+ 327 B- Nmhh- 184+ 186 (I-@- CY- 0866) (uO`] dYo ak [d]Yj l`Yl l`]

 surety enjoys a special place with respect to retained contract funds which become

 available because the surety completes a construction project . . . the surety has an

 equitable lien upon the contract funds and that by virtue of this lien the surety takes

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 Transamerica Ins. Co. v. Barnett Bank of Marion County, N.A., 540 So. 2d 113 (Fla.

 1989); Federal Insurance Co. v. Community State Bank, 905 F.2d 112 (5th Cir.

 1990); United States Fidelity & Guaranty Company v. Housing Authority of the

 Town of Berwick, 557 F.2d 482 (5th Cir. 1977); See also In the Matter of J.V.

 Gleason Co., Inc., 452 F.2d 1219 (8th Cir. 1971) (subrogation right attaches even in

 the absence of a UCC-1 filing). Here, however, Selective also recorded UCC-1

 filing.

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       19.   Additionally, the Contract Funds, by virtue of the Trust Fund

 provision of the Indemnity Agreement, are dedicated to the completion of and

 payment of claims on the Bonded Project. In fact, under Georgia law, it is a crime

 act a contractor to use contract funds that should be used to pay subcontractors and

 suppliers on that project for some other purpose. O.C.G.A. § 16-8-15.

       20.   Although the Contract Funds are not property of the estate, in an

 abundance of caution, Selective requests that the Court modify the stay to: (1)

 permit Selective to collect Bonded Contract Funds from owner on the Bonded

 Contract; and (2) to utilize said Bonded Contract Funds to pay claims under the

 Bonds issued by Selective on behalf of the Debtor, including costs incurred in

 completing any Bonded Contract, and/or to reimburse Selective for claims that it

 has already paid under the Bonds. See Louisiana Industrial Coatings, Inc. v. Boh

 Bros. Constr. Co., Inc., 53 B.R. 464 (E.D. La. 1985).

       21.   Alternatively, Selective is entitled to adequate protection of the

 Bonded Contract Funds to insure that they are used solely for direct Bonded

 Contract Costs.

       22.   Bankruptcy courts have hjgl][l]\ l`] kmj]lqxk afl]j]kl af [gfljY[l

 ^mf\k Zq daealaf_ l`] \]Zlgjxk mk] g^ l`] [gfljY[l ^mf\k lg l`] Zgf\]\ hjgb][l Yf\

 requiring the debtor to separately account for contract funds. See In re RAM

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 Construction Co., 32 B.R. 758 (Bancj- R-@- LY- 0872) (fglaf_ l`Yl ul`] kmj]lq

 would not be adequately protected if the Debtor was free to pay money received

 ^jge l`] gof]jk ^gj @]Zlgjxk ]ph]fk]k gf gl`]j [gfljY[lkv); see also § 363(c)(4)

 (j]imajaf_ l`] @]Zlgj lg uk]_j]_Yl] Yf\ Y[[gmfl ^gj Yfq [Yk` [gddYl]jYdv)-

       23.    Accordingly, Selective is entitled to adequate protection of the

 Bonded Contract Funds in the form of an Order requiring that the Bonded Contract

 Funds, as collected, be deposited into a separate trust account that requires the

 signature of the Debtor and Selective before funds can be disbursed, and an Order

 that the Bonded Contract Funds can be used only for direct Bonded Project costs,

 and not for other purposes, such as payment of officer salaries, home office

 overhead or other projects.

                                   CONCLUSION

       The Bonded Contract Funds are not property of the estate, and Selective

 respectfully requests that the Court hold that the stay does not apply or lift the stay

 to allow Selective to: (1) collect Bonded Contract Funds from owner on the

 Bonded Contract; and (2) to utilize said Bonded Contract Funds to pay claims

 under the payment and performance bonds issued by Selective on behalf of the

 Debtor, including costs incurred in completing any Bonded Contract, and/or

 reimburse Selective for claims that it has already paid under the Bonds.

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       Alternatively, Selective is entitled to adequate protection of the Bonded

 Contract Funds in the form of an order requiring that the Bonded Contract Funds,

 as collected, be deposited into a separate trust account that requires the signature of

 the Debtor and Selective before funds can be disbursed, and an Order that the

 Bonded Contract Funds can be used only for direct Bonded Project costs, and/or to

 reimburse Selective for claims that it has already paid under the Bonds, and not for

 other purposes, such as payment of officer salaries, home office overhead or other

 projects.

       Submitted: January 21, 2021.
                                              /s/ Zack D. Anderson
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                                              Company of America




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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 21st day of January 2021, the foregoing was

 electronically filed with the Clerk of Court using the CM/ECF system, and served by the

 ?gmjlxk ?I.A?B Nqkl]e lg [gmfk]d g^ j][gj\- Others listed below who do not receive

 fgla[] g^ ^adaf_ Zq gh]jYlagf g^ l`] ?gmjlxk ]dectronic filing system, were served a copy of

 the foregoing via first class U.S. Mail, with adequate postage prepaid.

 American Express           American Funding Services     Cumberland Services,    Georgia Department of
 P.O. Box 981532            80 Broad Street, Suite 3303   LLC                     Revenue
 El Paso, TX 79998          New York, NY 10004            100 Racetrack Road      ARCS - Bankruptcy
                                                          Dothan, AL 36301        1800 Century Blvd NE,
                                                                                  Atlanta, GA 30345
 Internal Revenue Service   Kabbage                       Ridge Petroleum, Inc.   American Funding Services
 CIO                        730 Peachtree St NE #1100     100 Peachtree St        80 Broad Street, Suite 3303
 P.O. Box 7346              Atlanta, GA 30308             # 1950                  New York, NY 10004
 Philadelphia, PA 19101                                   Atlanta, GA 30303




                                                               /s/ Zack D. Anderson




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